Ca§é 09-'13"0?','9`--i'<c;l Doc 3 Filed 09/01/09 "'Page' 1 of 3

IN TI[E UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

. In re:

CYNERGY DATA, LLC,

chtor.

 

In re:
CYNERGY DATA HOLDINGS, INC.,

chtor.

 

In re:
CYNERGY PROSPERITY PI..US, LLC,

Debtor.

 

 

Chapter 11

Case No. 09- i@oQ£-)J ( i‘¢é|”)

Chapter 11

caSeNo. 09* 1@,’§§2 (¢4£¢ )

Chapter 11

cas¢No.os- L§Qi£> ( K§ )
1231 D\<+. ala 4_

ORDER PURSUANT TO FED. R. BANKR. P. 1015(|1)
DIRECTING JDIN'I` ADM]NIS'I`RATION OF CI'L‘LPTER 11 CASES

 

Upon the motion (the “Mgtion”) of the Del:¢tors,1 pursuant to Ruie 1015(b] of the Federal

Rulcs of Bankruptcy Procedure (tl:lc “Bankruw Ruies”) and Rule 1015~1 of the Loca] Ruies of

Bankruptcy Practice and Procedure cf the United States Bankruptcy Court for the District of

Delaware (the “Loeai Rules”), for entry of an order consolidating these chapter 11 cases _f_c_»_;

procedural purposes only and directing the joint administration of these chapter ll cases; and

upon the Moore Deciaration; and the Couct having jurisdiction to consider the Motion and the

relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334; and consideration of the

Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b};

and venue being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and

 

l
terms in the Motion.

# l 1433734 vi

Capita.liz;ed terms used herein and not otherwise defined herein shall have the meanings ascribed 130 such

 

ease 09-13039-KG Doc 3 Filed_oQ/ol/'os Page 2 of 3 '

proper notice of the Motion having been given and it appearing that no other or further notice
need be provided; and a hearing having been held to consider the relief requested in the Motion 7
(the “HM’U; and upon the record of the Hcaring and all of the proceedings had before the
Court; and the Court having found and determined that the relief sought in the Motion is in the
best interests of the Debtors, their estates, creditors, and all parties in interest and that the legal
and factual bases set forth in the Motion establish just cause for the relief granted herein; and
after due deliberation and sufficient cause appearing therefor, it is hereby

ORDERED, ADIUDICATED, AND DECREED TI-IAT:

1. The Motion is granted as provided herein.

2. The above-captioned chapter ll cases are hereby consolidated for
procedural purposes onlyr and shall be jointly administered by the Court.

3. Nothing contained in this Order shall be deemed or construed as directing
or otherwise effecting the substantive consolidation of any of the above-captioned cases.

4. The caption of the jointly administered cases shall read as follow:

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

ln re: Chapter ll
cYNERGY DATA, LLC, er atf case No. 09- [303$ ( l»<& )
Debtors. Jointly Administered

 

 

 

l The Debtors are the following entities (federal tax identification numbers` m parentheses): Cynergy Data, LLC

{8677); Cynerg]¢r Data Holdings, Inc. (8208); Cynergy Prcsperit_v Plus, LLC (4265}. The mailing address for
the Debtors' is 30-30 47tb Avenue, 9th Floor, Long Isla`nd City, New York 11101.

#l]433734 wl

 

" Case 09-13039-KG Doc 3 Filed 09/01/09 Page 3 of 3

5. A docket entry shall be made in the chapter li cases of Cynergy Data
Holdings, lnc., Case No. 13033 (H_) and Cynergy Prosperity Plus, LLC, Case No.
iszdli'$ (LQ_) substantially as follows:

An Order has been entered in this case directing the procedural consolidation and
joint administration of the chapter 11 cases of Cynergy Data, LLC, Case No. `
IBDQ& , Cynergy Data Holdings, Inc., Case Nc. badge and Cynergy
Prosperity Plus, LLC, Case No. JQDQQ . The docket in Case No. 09-_@3&
(K¢) should be consulted for all matters affecting this case.

6. This Court shall retain jurisdiction to hear and determine all matters
arising-from or related to this Order.

'i’. This Order shall take effect immediately upon its entry.

naisdf.zgf[hfgal 2009 £4`_11.».4 QTCO¢:£:

UNH'EBSIATES B,LNKRUPTCY JUDGE

#l 1433'.|'34 vi

 

